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                                                                         Los Angeles, California 90071-1406
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                                                                         Facsímile: 213.629.4520
                                                                       6
                                                                         Attorneys for Howard M. Ehrenberg, Chapter 7
                                                                       7 Trustee

                                                                       8                                 UNITED STATES BANKRUPTCY COURT

                                                                       9                                  CENTRAL DISTRICT OF CALIFORNIA

                                                                      10                                        LOS ANGELES DIVISION
  A Professional Corporation




                                                                      11 In re                                               Case No. 2:18-bk-11909-ER
                               333 SOUTH GRAND AVENUE, SUITE 3400

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                                  LOS ANGELES, CALIFORNIA 90071




                                                                      12 RAYMOND EXPRESS INTERNATIONAL,                      Chapter 7
                                                                         LLC
                                                                      13                                                     Adv. No.
                                                                                  Debtor .
                                                                      14                                                     COMPLAINT FOR AVOIDANCE AND
                                                                         HOWARD M. EHRENBERG, Chapter 7                      RECOVERY OF LIENS PURSUANT TO
SulmeyerKupetz,




                                                                      15 Trustee,                                            11 U.S.C. §§ 547(b), 550 AND 551
                                                                      16                    Plaintiff,                       Status Conference:
                                                                      17           vs.                                       Date:    To Be Set By Court
                                                                                                                             Time:    To Be Set By Court
                                                                      18 SUGIO JUWONO, an individual,                        Place:   Courtroom 1668
                                                                                                                                      Roybal Federal Building
                                                                      19                    Defendant.                                255 East Temple Street
                                                                                                                                      Los Angeles, California 90012
                                                                      20

                                                                      21           For his Complaint For Avoidance And Recovery Of Lien Pursuant To 11 U.S.C. §§
                                                                      22 547(b), 550 And 551 (“Complaint”), against Sugio Juwono ("Defendant"), Howard, M.

                                                                      23 Ehrenberg, the duly appointed and acting Chapter 7 Trustee ( the “Trustee” or "Plaintiff"), hereby

                                                                      24 alleges as follows:

                                                                      25                                   REQUIRED PLEADING DISCLOSURE
                                                                      26                    1.      In accordance with the requirements of Local Bankruptcy Rule 7008-1,
                                                                      27 Plaintiff hereby alleges that the claims for relief set forth in the Complaint constitute a core

                                                                      28 proceeding under 28 U.S.C. § 157(b), in that the claims for relief relate directly to property of the


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                                                                       1 Plaintiff's estate. Regardless of whether the claims for relief are core or non-core, Plaintiff hereby

                                                                       2 consents to the entry of final orders and judgment by the Bankruptcy Court, except as may be

                                                                       3 precluded by applicable law.

                                                                       4                        STATEMENT OF JURISDICTION AND PROCEEDINGS

                                                                       5                   2.      Venue properly lies in this judicial district pursuant to 28 U.S.C. § 1409(a),

                                                                       6 in that this is a civil proceeding arising in and/or related to the Plaintiff's Chapter 7 case, styled In

                                                                       7 re Raymond Express International, LLC (Case No. 2:18-bk-11909-ER) currently pending in the

                                                                       8 Los Angeles Division of the United States Bankruptcy Court for the Central District of California

                                                                       9 ("Bankruptcy Court"). Pursuant to 28 U.S.C. § 1391(b)(2), venue is appropriate in this Central

                                                                      10 District of California as the acts and conduct complained of herein took place within this district.
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                                                                      11 Accordingly, this Court also has personal jurisdiction over the Defendant.
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                                                                      12                   3.      The Bankruptcy Court has jurisdiction over this proceeding pursuant to 28
                                                                      13 U.S.C. §§157(b)(1) and 1334(a) and General Order No. 242-A of the District Court for the Central

                                                                      14 District of California, as this is a core proceeding under 28 U.S.C. § 157(b)(1) and (2)(F), (K), and
SulmeyerKupetz,




                                                                      15 (O).

                                                                      16                   4.      On February 21, 2018 ("Petition Date"), an involuntary petition was filed
                                                                      17 under Chapter 7 of Title 11 of the United States Code against the Debtor, Raymond Express

                                                                      18 International, LLC (the “Debtor”). On July 26, 2018, the Bankruptcy Court issued an order for

                                                                      19 relief adjudging and decreeing that the Debtor was bankrupt.               Thereafter, the Trustee was
                                                                      20 appointed.

                                                                      21                                                 PARTIES
                                                                      22                   5.      Plaintiff brings this action for the benefit of the bankruptcy estate ("Estate")
                                                                      23 and its creditors, and solely in his capacity as the Chapter 7 Trustee. To the extent that Plaintiff

                                                                      24 asserts claims under 11 U.S.C. § 544(b), Plaintiff is informed and believes and on that basis

                                                                      25 alleges, that there exists in these cases one or more creditors holding unsecured claims allowable

                                                                      26 under 11 U.S.C. § 502 or that are not allowable only under 11 U.S.C. § 502(e) who could have

                                                                      27 avoided the respective transfers or obligations under California or other applicable law before the

                                                                      28 Plaintiff's petition was filed.


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                                                                       1                   6.       Plaintiff is informed and believes and based thereon alleges that Defendant

                                                                       2 is an individual residing in the State of California. At all relevant times, Defendant was an

                                                                       3 individual for whose benefit the recoverable transfers alleged in this Complaint were made; and/or

                                                                       4 an immediate or mediate transferee of such recoverable transfers.

                                                                       5                          FACTS COMMON TO ALL CLAIMS FOR RELIEF

                                                                       6                   7.       Prior to the Petition Date, the Debtor operated a logistics business

                                                                       7 specializing in transportation of perishable, temperature-sensitive products, including fruits and

                                                                       8 vegetables, meat, seafood, and medicine, servicing primarily military and commercial customers

                                                                       9 seeking to transport perishables from the West Coast of the United States to Asia, including to

                                                                      10 U.S. military bases in South Korea (the "Business").
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                                                                      11                   8.       The Debtor's membership interests are held by REI Intermediate Holding
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                                  LOS ANGELES, CALIFORNIA 90071




                                                                      12 Company, Inc, a Delaware corporation ("Parent"), and REI Holding Company, Inc., a Delaware

                                                                      13 corporation (the "Ultimate Parent"). Parent's equity interests are held solely by Ultimate Parent.

                                                                      14 The Debtor, Ultimate Parent and Parent are sometimes referred to collectively herein as the "REI
SulmeyerKupetz,




                                                                      15 Parties".

                                                                      16                   9.       On or about April 11, 2018, the Ultimate Parent received a federal tax

                                                                      17 refund from the United States Department of Treasury (the "Federal Tax Refund") in the amount

                                                                      18 of $4,922,346.         In addition to the Federal Tax Refund, the Trustee has asserted a claim for a

                                                                      19 refund from the State of California (the “CA Tax Refund”) in the amount of approximately

                                                                      20 $1,769,490, for the tax years 2014 and 2015. The request for the CA Tax Refund has been under

                                                                      21 audit by the Franchise Tax Board for the past 18 months.

                                                                      22                   10.      Shortly after its receipt of the Federal Tax Refund, Ultimate Parent

                                                                      23 endorsed the entirety of the Federal Tax Refund to the agent for its lenders (“Agent”). The Agent

                                                                      24 applied $4,393,599.50 of the Federal Tax Refund to satisfy the balance of its obligations that were

                                                                      25 due, owing and outstanding to the Debtor’s lenders. Portions of the balance of the Federal Tax

                                                                      26 Refund were utilized by the Trustee to settle disputed liens of additional secured creditors.

                                                                      27                   11.      The Federal Tax Refund has been assigned by the board of the Ultimate

                                                                      28 Parent to the Trustee, and is property of the Estate. The Trustee contends that the CA Tax Refund


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                                                                       1 is property of the Estate, as the tax losses were as a result of the Debtor’s operations, and the

                                                                       2 Parent and Ultimate Parent had no business operations.

                                                                       3                   12.    On or about November 27, 2017, within 90 days prior to the Petition Date,

                                                                       4 a UCC-1 Financing Statement (the “UCC-1 Financing Statement” or “Preferential Transfer”) was

                                                                       5 recorded in favor of Defendant to secure payment of an antecedent debt owed by Debtor to

                                                                       6 Defendant, in the amount of $29,593.15.

                                                                       7                   ALLEGATIONS COMMON TO ALL CLAIMS FOR RELIEF

                                                                       8                   13.    The recording of the UCC-1 Financing Statement constituted a transfer of

                                                                       9 interest in property of the Estate to Defendant.

                                                                      10                   14.    The UCC-1 Financing Statement was recorded 86 days prior to the Petition
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                                                                      11 Date.
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                                                                      12                                     FIRST CLAIM FOR RELIEF

                                                                      13       (Avoidance And Recovery Of Preferential Transfers Pursuant To 11 U.S.C. § 547(b))
                                                                      14                   15.    Plaintiff realleges and incorporates herein by reference each and every
SulmeyerKupetz,




                                                                      15 allegation contained in paragraphs 1 through 14 as though set forth in full.

                                                                      16                   16.    Plaintiff is informed and believes, and on that basis alleges, that the
                                                                      17 Preferential Transfer was made to Defendant for the benefit of Defendant, who was a creditor of

                                                                      18 the Plaintiff at the time of the Preferential Transfer as that term is defined by 11 U.S.C. § 101(10).

                                                                      19                   17.    Plaintiff is informed and believes, and on that basis alleges, that the
                                                                      20 Preferential Transfer were a transfer of an interest of the Plaintiff in property.

                                                                      21                   18.    Plaintiff is informed and believes, and on that basis alleges, that the
                                                                      22 Preferential Transfer was made for or on account of an antecedent debt owed by the Plaintiff to

                                                                      23 Defendant before the Preferential Transfer was made.

                                                                      24                   19.    Plaintiff is informed and believes, and on that basis alleges, that the
                                                                      25 Preferential Transfer was made at a time that the Plaintiff was insolvent, as that term is defined in

                                                                      26 11 U.S.C. §101(32).

                                                                      27                   20.    Plaintiff is informed and believes, and on that basis alleges, that the
                                                                      28 Preferential Transfer enabled Defendant to receive more than Defendant would have received if


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                                                                       1 (a) the Plaintiff's bankruptcy case was a case under chapter 7 of title 11 of the United States Code;

                                                                       2 (b) the Preferential Transfer had not been made; and (c) Defendant received payment of such debt

                                                                       3 to the extent provided by Title 11 of the United States Code.

                                                                       4                    21.     Plaintiff is entitled to an order and judgment under 11 U.S.C. § 547(b) that

                                                                       5 the Preferential Transfer is avoided.

                                                                       6                                     SECOND CLAIM FOR RELIEF

                                                                       7                          (For Recovery Of Property Pursuant To 11 U.S.C. § 550)

                                                                       8                    22.     Plaintiff realleges and incorporates herein by reference each and every

                                                                       9 allegation contained in paragraphs 1 through 21 as though set forth in full.

                                                                      10                    23.     As alleged herein, Plaintiff is entitled to avoid the Preferential Transfer
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                                                                      11 under 11 U.S.C. § 547. As the Defendant is the initial transferee of the Preferential Transfer, or
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                                  LOS ANGELES, CALIFORNIA 90071




                                                                      12 the entity for whose benefit the Preferential Transfer was made, Plaintiff is entitled to recover for

                                                                      13 the Estate the value of the transfers under 11 U.S.C. § 550.

                                                                      14                                      THIRD CLAIM FOR RELIEF
SulmeyerKupetz,




                                                                      15                   (For Preservation Of Avoided Transfers Pursuant To U.S.C. § 551)
                                                                      16                    24.     Plaintiff realleges and incorporates herein by reference each and every
                                                                      17 allegation contained in paragraphs 1 through 23 as though set forth in full.

                                                                      18                    25.     Pursuant to 11 U.S.C. § 551, Plaintiff is entitled to preserve any transfer
                                                                      19 avoided under 11 U.S.C. § 547, including the Preferential Transfer, for the benefit of the Estate.

                                                                      20                    WHEREFORE, Plaintiff prays for judgment against Defendant as follows:
                                                                      21                                 ON THE FIRST CLAIM FOR RELIEF
                                                                      22           1.       For a judgment that the Preferential Transfer are avoidable as preferential transfers
                                                                      23 under 11 U.S.C. § 547(b);

                                                                      24                                ON THE SECOND CLAIM FOR RELIEF
                                                                      25           2.       For a judgment that the Estate is entitled to recover the Preferential Transfer or the
                                                                      26 value thereof under 11 U.S.C. § 550;

                                                                      27

                                                                      28


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                                                                       1                                ON THE THIRD CLAIM FOR RELIEF

                                                                       2           3.      For a judgment that the Estate is entitled to preserve the transfers avoided under 11

                                                                       3 U.S.C. § 547(b) for the benefit of the Estate;

                                                                       4                                    ON ALL CLAIMS FOR RELIEF

                                                                       5           4.      For costs of suit incurred herein, including attorneys’ fees; and

                                                                       6           5.      For such other and further relief as the Court deems just and proper.

                                                                       7 DATED: February 20, 2020                      Respectfully submitted,

                                                                       8                                               SulmeyerKupetz
                                                                                                                       A Professional Corporation
                                                                       9

                                                                      10
                                                                                                                       By: s/Mark S. Horoupian
  A Professional Corporation




                                                                      11                                                   Mark S. Horoupian
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                                                                                                                           Steven F. Werth
                                                                      12                                                   Attorneys for Howard M. Ehrenberg, Chapter 7
                                                                      13                                                   Trustee

                                                                      14
SulmeyerKupetz,




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 B1040 (FORM 1040) (12/15)

         ADVERSARY PROCEEDING COVER SHEET                                                      ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                 (Instructions on Reverse)

PLAINTIFFS                                                                       DEFENDANTS
HOWARD M. EHRENBERG, Chapter 7 Trustee                                           SUGIO JUWONO

ATTORNEYS (Firm Name, Address, and Telephone No.)                                ATTORNEYS (If Known)
Mark S. Horoupian (CA Bar No. 175373)
mhoroupian@sulmeyerlaw.com
Steven F. Werth (CA Bar No. 205434)
swerth@sulmeyerlaw.com
SulmeyerKupetz, A Professional Corporation
333 South Grand Avenue, Suite 3400
Los Angeles, California 90071
Telephone: 213.626.2311
Facsimile: 213.629.4520
PARTY (Check One Box Only)                                                       PARTY (Check One Box Only)
   Debtor                U.S. Trustee/Bankruptcy Admin                              Debtor                  U.S. Trustee/Bankruptcy Admin
   Creditor              Other                                                      Creditor                Other
   Trustee                                                                          Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Complaint for Avoidance and Recovery of Liens Pursuant to 11 U.S.C. §§ 547(b), 550 and 551

                                                                      NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

    FRBP 70 01( 1) – Recovery of Money/Property                                  FRBP 70 01(6) – Dischargeability (continued)
   11-Recovery of money/propert y - §542 turnover of property                       61 -Dischargeability- §523(a)(5 ), domestic support
   12-Recovery of money/property - §547 preference                                   68-Dischargeability - §523(a)(6), willful and malicious injury
   13-Recovery of money/property - §548 fraudulent transfer                          63-Dischargeability - §523(a)(8), student loan
   14-Recovery of money/property - other                                             64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                       (other than domestic support)
   FRBP 70 01 (2) – Validity, Priority or Extent of Lien                             6 5 -Dischargeability - other
   21-Validity, priority or extent of lien or other interest in property
                                                                                 FRBP 70 01(7) – Injunctive Relief
   FRBP 7001( 3) – Approval of Sale of Property                                     71 -Injunctive relief- imposition of stay
   31-Approval of sale of property of estate and of a co-owner - §363(h)            72-Injunctive relief - other

    FRBP 7001(4 ) – Objection/ Revocation of Discharge                           FRBP 70 01(8) Subordination of Claim or Interest
   41-Objection/re vocation of discharge - §727(c),(d),(e)                          81 -Subordination of claim or interest

   FRBP 7001(5) – Revocation of Confirmation                                     FRBP 70 01(9) Declaratory Judgment
   51-Revocation of confirmation                                                    91 -Declaratory judgment

   FRBP 7001(6) – Dischargeability                                               FRBP 70 01(10) Deter mi nation of Remove d Act ion
   6 6 -Dischargeability - §523(a)(1),(14),(14A) priority tax claims                01 -Determination of removed claim or cause
   62-Dischargeability - §523(a)(2), false pretenses, false representation,
        actual fraud                                                             Other
   67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny      SS-SIPA Case - 15 U.S.C. §§78aaa et.seq.
                                                                                    02-Other (e.g. other actions that would have been brought in state court
                      (continued next column)                                          if unrelated to bankruptcy case)

   Check if this case involves a substantive issue of state law                    Check if this is asserted to be a class action under FRCP 23
   Check if a jury trial is demanded in complaint                                  Demand $
Other Relief Sought

                                                                                                                                    American LegalNet, Inc.
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  B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
RAYMOND EXPRESS INTERNATIONAL, LLC           2:18-bk-11909-ER
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                    NAME OF JUDGE
CENTRAL                                                               LOS ANGELES                        HON. ERNEST M. ROBLES
                                      RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                 ADVERSARY
                                                                                                         PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                    NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)
/s/Mark S. Horoupian




DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)

February 20, 2020                                                     Mark S. Horoupian



                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of
 pleadings or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is
 largely self-explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented
 by an attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.




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                                                                                                                  www.FormsWorkFlow.com
